                                                                                                                                                                                                   Page:       1

                                                                                      FORM 1
                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                   ASSET CASES
Case No:             20-61308                          RK         Judge:        Russ Kendig                                  Trustee Name:                      Lisa M. Barbacci
Case Name:           A.R.M. Opco Inc.                                                                                        Date Filed (f) or Converted (c):   03/29/2021 (c)
                                                                                                                             341(a) Meeting Date:               05/18/2021
For Period Ending:   03/31/2022                                                                                              Claims Bar Date:                   01/06/2022


                                  1                                            2                            3                             4                          5                             6

                         Asset Description                                   Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                      Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                             Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                       Exemptions,                                                                               Assets
                                                                                                     and Other Costs)

  1. Ohio Workers Comp premium/refund/return (u)                                           0.00                 322,012.48                                               322,012.48                          FA
  2. Huntington National Bank - Checking ending 7910                                 2,647.88                         0.00                                                       0.00                        FA
  3. KeyBank- Checking ending 8063                                                       567.67                       0.00                                                       0.00                        FA
  4. Wells Fargo- Checking ending 5154 Account was written off                             0.00                       0.00                                                       0.00                        FA
     by Wells Fargo. Unsure fi the account is actually closed.
  5. Wells Fargo- Zero Balance Account ending 8026 Zero                                    0.00                       0.00                                                       0.00                        FA
     Balance Account
  6. Peoples Bank- Checking ending 4504                                                    0.00                       0.00                                                       0.00                        FA
  7. Vendor Prepayments                                                              8,608.18                         0.00                                                       0.00                        FA
  8. Accounts receivable 1,869,134.74 - 311,522.46                              1,557,612.28                          0.00                                                       0.00                        FA
  9. Counter Stock Valuation method is Book Value reduced by                       217,000.00                         0.00                                                       0.00                        FA
     50% 1/1/2020 108,500.00
 10. Work in Progress Valuation method is Book Value reduced by                    184,276.00                         0.00                                                       0.00                        FA
     50% 184,276.00
 11. Work in Progress- Open Orders (based on profit margin)                     1,018,448.00                          0.00                                                       0.00                        FA
     1,018,448.00
 12. Miscellaneous Office Furniture & Fixtures- See Exhibit                         55,156.00                         0.00                                                       0.00                        FA
     attached hereto. Valuation method is Book Value reduced by
     50% 55,156.00
 13. Miscellaneous Computers & Office Equipment- See Exhibit                       131,849.00                         0.00                                                       0.00                        FA
     attached hereto. Valuation method is Book Value reduced by
     50% 131,849.00
 14. Office Furniture, Fixtures, & Equipment unknown                                Unknown                           0.00                                                       0.00                        FA
 15. Miscellaneous Vehicles- See Exhibit attached hereto.                           83,902.50                         0.00                                                       0.00                        FA
     Valuation method is Book Value reduced by 50% $83,902.50
 16. 2017 Ford T250 Van Scheduled at Kelley Blue Book "Good"                        14,306.00                         0.00                                                       0.00                        FA
     Value $14,306.00
 17. Miscellaneous Equipment- See Exhibit attached hereto.                         665,437.00                         0.00                                                       0.00                        FA
     Valuation method is Book Value reduced by 50% $665,437.00




                                      20-61308-rk           Doc 235        FILED 04/25/22            ENTERED 04/25/22 19:24:03                           Page 1 of 6
                                                                                                                                                                                                    Page:       2

                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
Case No:              20-61308                          RK             Judge:        Russ Kendig                              Trustee Name:                      Lisa M. Barbacci
Case Name:            A.R.M. Opco Inc.                                                                                        Date Filed (f) or Converted (c):   03/29/2021 (c)
                                                                                                                              341(a) Meeting Date:               05/18/2021
For Period Ending:    03/31/2022                                                                                              Claims Bar Date:                   01/06/2022


                                   1                                                2                         3                            4                          5                             6

                         Asset Description                                        Petition/             Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                           Unscheduled         (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                  Values             Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                         Exemptions,                                                                              Assets
                                                                                                       and Other Costs)

 18. Solvent Washer model SW30, continuous feed operation,                              14,112.00                      0.00                                                       0.00                        FA
     Teflon/Kalrex, 280v and 1RSD-5 Cooling tower, 115v
     $14,112.00
 19. Geomagic for Solidworks and USB Dongle, Mobile Precision                           71,017.00                      0.00                                                       0.00                        FA
     7720 XCTO Base, One New Faro Edge 12 ft, 7 Axis Edge
     Arm, together witl all replacements, parts, repairs, additions,
     and accessions incorporated therein or attached hereto and
     any and all proceeds of
 20. One Used 2006 Komatsu FD135-7 Lift with Serial No. 6234,                           85,000.00                      0.00                                                       0.00                        FA
     together with all replacements, additions, accessions, and
     accessories incorporated therein and/or thereto and all
     proceeds thereof including but not limited to amounts payable
     under any insurance po
 21. Electric Lines, Air Lines, (1) HYP Powermax 105 Plasma                             26,177.00                      0.00                                                       0.00                        FA
     Cutter, Hydraulic Hose Cleaner, (2) Magnetek Flex-6EX
     Crane Remote, Adjustable Lifting Beam, (7) Trailer Systems
     $26,177.00
 22. 2018 Yale GP050MX Forklift $26,568.00                                              26,568.00                      0.00                                                       0.00                        FA
 23. 2014 Yale GC060VX Forklift $16,500.00                                              16,500.00                      0.00                                                       0.00                        FA
 24. Website- See Exhibit attached hereto. $96,386.00 Book Value                        96,386.00                      0.00                                                       0.00                        FA
 25. Train Pro IP License unknown Book Value                                             Unknown                       0.00                                                       0.00                        FA
 26. Mulch Mule License unknown Book Value                                               Unknown                       0.00                                                       0.00                        FA
 27. Covid-19 Business Interruption Insurance Claim-                                     Unknown                       1.00                                                       0.00                       1.00
     Undetermined Value $0.00
 28. Review of pre and post petition financial affairs (u)                               Unknown                       1.00                                                       0.00                       1.00
 29. Refund American Electric Power (u)                                                  Unknown                       1.00                                                  1,345.50                        0.00
 30. Refund Ameritas (u)                                                                 Unknown                       1.00                                                    644.88                        0.00


                                                                                                                                                                               Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $4,275,570.51              $322,016.48                                                $324,002.86                       $2.00




                                       20-61308-rk           Doc 235            FILED 04/25/22         ENTERED 04/25/22 19:24:03                          Page 2 of 6
                                                                                                                                                                                                 Page:        3

                                                                                                                                                                              (Total Dollar Amount in Column 6)


Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

(3/31/22) Further review of pre and post petition financial affairs and conversion activities and possible Covid-19 Business Interruption Insurance claim. (Asset Nos. 27 and 28).
(3/21/22) Agreed Order Granting Mtn for Relief from Stay (Docket #233)
(3/17/22) Mtn for Relief from Stay filed by creditor in order to pursue product liability suit (Docket #230)
(9/30/21) Review of pre and post petition financial affairs and conversion activities and Covid-19 Business Interruption Insurance claim. (Asset Nos. 27 and 28).
(5/19/21) Report of Asset Sale filed by Debtors (Docket No. 207).
(5/18/21) Initial Chapter 7 Meeting of Creditors held.
(4/23/21) Order granting Application to Employ Trustee's Attorney, Gibson & Moran, LLC. (Docket No. 204)
(4/6/21) Appl to Employ Gibson & Moran, LLC as Trustee's Attorney (Docket No. 203)
(3/29/2021) This case converted from Chapter 11 to Chapter 7 case.



RE PROP #              2    --   The balance is scheduled as $-2,647.88. The software does not allow negative balance
                                 entries.

Initial Projected Date of Final Report (TFR): 03/31/2023            Current Projected Date of Final Report (TFR): 03/31/2023

Trustee Signature:         /s/ Lisa M. Barbacci     Date: 04/25/2022
                           Lisa M. Barbacci
                           600 E Smith Rd.
                           Medina, OH 44256-2666
                           (330) 722-4488
                           barbaccitrustee@gmail.com




                                      20-61308-rk          Doc 235          FILED 04/25/22              ENTERED 04/25/22 19:24:03                       Page 3 of 6
                                                                                                                                                                                                    Page:           1

                                                                                         FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 20-61308                                                                                             Trustee Name: Lisa M. Barbacci
      Case Name: A.R.M. Opco Inc.                                                                                           Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX0951
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3819                                                                               Blanket Bond (per case limit): $2,000,000.00
For Period Ending: 03/31/2022                                                                              Separate Bond (if applicable):


       1                2                            3                                                4                                                     5                    6                     7

Transaction Date    Check or               Paid To / Received From                       Description of Transaction               Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                             ($)
   06/11/21             1       Ohio Bureau of Workers Compensation        Premium/refund/return                                   1229-000               $322,012.48                                $322,012.48

   07/01/21                     Axos Bank                                  Bank Service Fee under 11                               2600-000                                          $229.38         $321,783.10
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   08/02/21                     Axos Bank                                  Bank Service Fee under 11                               2600-000                                          $355.28         $321,427.82
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   09/01/21                     Axos Bank                                  Bank Service Fee under 11                               2600-000                                          $354.90         $321,072.92
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   10/01/21                     Axos Bank                                  Bank Service Fee under 11                               2600-000                                          $343.06         $320,729.86
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   11/01/21                     Axos Bank                                  Bank Service Fee under 11                               2600-000                                          $354.12         $320,375.74
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   11/23/21            29       American Electric Power                    Refund                                                  1229-000                  $1,345.50                               $321,721.24

   11/23/21            30       Ameritas                                   Refund of Policy premiums                               1229-000                     $644.88                              $322,366.12

   12/01/21                     Axos Bank                                  Bank Service Fee under 11                               2600-000                                          $342.89         $322,023.23
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   12/27/21           2001      INSURANCE PARTNERS                         Trustee bond premium                                    2300-000                                          $257.00         $321,766.23

   01/03/22                     Axos Bank                                  Bank Service Fee under 11                               2600-000                                          $355.55         $321,410.68
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   02/01/22                     Axos Bank                                  Bank Service Fee under 11                               2600-000                                          $354.90         $321,055.78
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)
   03/01/22                     Axos Bank                                  Bank Service Fee under 11                               2600-000                                          $320.18         $320,735.60
                                                                           U.S.C. § 330(a)(1)(B), 503(b)
                                                                           (1), and 507(a)(2)




                                                                                    Page Subtotals:                                                       $324,002.86             $3,267.26

                                    20-61308-rk            Doc 235        FILED 04/25/22                  ENTERED 04/25/22 19:24:03                       Page 4 of 6
                                                                                                              Page:   2

                                                 COLUMN TOTALS                      $324,002.86   $3,267.26
                                                        Less: Bank Transfers/CD's         $0.00      $0.00
                                                 Subtotal                           $324,002.86   $3,267.26
                                                        Less: Payments to Debtors         $0.00      $0.00
                                                  Net                               $324,002.86   $3,267.26




                             Page Subtotals:                                              $0.00      $0.00

20-61308-rk   Doc 235   FILED 04/25/22         ENTERED 04/25/22 19:24:03            Page 5 of 6
                                                                                                                                                                         Page:     3




                                                                                                    TOTAL OF ALL ACCOUNTS
                                                                                                                                                     NET              ACCOUNT
                                                                                                                  NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                   XXXXXX0951 - Checking                                              $324,002.86               $3,267.26            $320,735.60
                                                                                                                      $324,002.86               $3,267.26            $320,735.60

                                                                                                                 (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                         transfers)            to debtors)
                                                   Total Allocation Receipts:                            $0.00
                                                   Total Net Deposits:                             $324,002.86
                                                   Total Gross Receipts:                           $324,002.86



Trustee Signature:   /s/ Lisa M. Barbacci   Date: 04/25/2022

                     Lisa M. Barbacci
                     600 E Smith Rd.
                     Medina, OH 44256-2666
                     (330) 722-4488
                     barbaccitrustee@gmail.com




                                                                           Page Subtotals:                                              $0.00                $0.00

                              20-61308-rk         Doc 235          FILED 04/25/22            ENTERED 04/25/22 19:24:03            Page 6 of 6
